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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

SARAH BUNTURA,                              )    Case No. 1:24-cv-1811
                                            )
      Plaintiff,                            )    Judge J. Philip Calabrese
                                            )
v.                                          )    Magistrate Judge
                                            )    Jennifer Dowdell Armstrong
FORD MOTOR COMPANY, et al.,                 )
                                            )
       Defendants.                          )
                                            )

                              OPINION AND ORDER

      Plaintiff Sarah Buntura seeks reconsideration under Rule 59 and Rule 60 of

the Court’s Order dismissing her lawsuit on the ground of res judicata because it was

a re-filing of a prior case she filed that the Court also dismissed.          Justifying

reconsideration requires a moving party to: (1) demonstrate an intervening change

in the controlling law; (2) establish that new evidence is available; or (3) prove that a

clear error occurred or reconsideration is necessary to prevent manifest injustice. See

Louisville/Jefferson Cnty. Metro. Gov’t v. Hotels.com, L.P., 590 F.3d 381, 389 (6th Cir.

2009). A district court retains the discretion to entertain such a motion. Rodriguez

v. Tennessee Laborers Health & Welfare Fund, 89 F. App’x 949, 959 n.7 (6th Cir.

2004). Further, a district court does not abuse its discretion in denying a motion for

reconsideration when it is premised on evidence or arguments available to the party

at the time of the original judgment. Emmons v. McLaughlin, 874 F.2d 351, 358 (6th

Cir. 1989).   After all, such motions are aimed at reconsideration, not initial
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consideration. Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146 F.3d 367,

374 (6th Cir. 1998) (citing FDIC v. World Univ. Inc., 978 F.2d 10, 16 (1st Cir.1992)).

      Here, Plaintiff presents no new evidence or arguments that were not

previously available to her—either in her refiling of this lawsuit or in her initial filing

of her claims arising from her dispute with Defendants.           The Court previously

addressed those issues and arguments and will not do so yet again. But the Court

notes that Ms. Buntura is not correct that futility is inconsistent with the previous

grounds of dismissal. She misunderstands the legal standard for futility, which

applies only to her attempt in her first lawsuit to seek amendment following

dismissal. Then, the Court ruled that the new facts and claims she tried to plead

would not change the result. That is futility. And futility so understand is not

inconsistent with the lack of merit in her lawsuit resulting in its dismissal. To the

contrary, it reinforces the lack of merit in her claims, which she nevertheless persists

in attempting to pursue. Should she continue to do so, the Court warns her that she

may be labelled a frivolous or vexatious litigator and have her right to file limited or

restricted.

      For these reasons, and those set out in the Court’s previous Orders, the Court

DENIES Plaintiff’s motion for reconsideration.

      SO ORDERED.




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Dated: December 16, 2024




                                    J. Philip Calabrese
                                    United States District Judge
                                    Northern District of Ohio




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